
ATKINSON, Judge.
*362Deutsche Bank National Trust Company ("Deutsche Bank") appeals the final judgment awarding William F. Noll, III, the attorney's fees and costs that he incurred as a prevailing party after he obtained a final summary judgment dismissing Deutsche Bank's foreclosure case. Deutsche Bank successfully appealed that underlying judgment in case number 2D16-5635. As such, because Mr. Noll is no longer the prevailing party and no longer entitled to an award of fees and costs on that basis, we must reverse. See U.S. Bank Nat'l Ass'n for CSFB Heat 2006-7 v. Tranumn, 234 So.3d 871, 872 (Fla. 1st DCA 2018) (citing Marty v. Bainter, 727 So.2d 1124, 1125 (Fla. 1st DCA 1999) ("Once a final judgment is reversed and remanded by an appellate court, there can be no prevailing party for purposes of an award of prevailing party attorney's fees. Consequently, an award of attorney's fees and costs predicated on a reversed or vacated final judgment also must be reversed.") ).
Reversed and remanded.
SILBERMAN and CRENSHAW, JJ., Concur.
